Case 1:18-cr-00681-NGG-CLP Document 704 Filed 08/03/24 Page 1 of 8 PageID #: 20146

                                                        U.S. Department of Justice


                                                        United States Attorney
                                                        Eastern District of New York
  HDM/GN/PC/MC                                          271 Cadman Plaza East
  F.# 2016R00695                                        Brooklyn, New York 11201

                                                        July 31, 2024


  By ECF and Email

  The Honorable Nicholas G. Garaufis
  United States District Court
  Eastern District of New York
  225 Cadman Plaza East
  Brooklyn, New York 11201

                         Re:     United States v. Manuel Chang
                                 Criminal Docket No. 18-681 (NGG)

  Dear Judge Garaufis:

                  The government respectfully writes regarding the defendant’s requests for: (1) multiple
  special interrogatories, including with respect to venue on Count One; (2) a limiting instruction regarding
  the “wine for Pantero” email (ECF No. 703 at 1-4); (3) a missing witness charge (ECF No. 702);
  (4) inclusion in the wire fraud instruction of confusing and misleading language from Ciminelli; and (5) a
  change in the money laundering instruction premised on incorrect law.

  1.     The Defendant’s Requests for Special Interrogatories are Meritless and Threaten to Seriously
         Confuse the Jury

                 The defendant appears intent on presenting a verdict form to the jury that confuses multiple
  issues, ignores controlling case law, and conflates burdens of proof. That is improper and should be
  rejected.

                  Despite knowing that the government intended to proceed on both first-brought venue
  under 18 U.S.C. § 3238, as well as § 3237(a), in connection with Count One, the defendant did not initially
  request a jury interrogatory on venue. Instead, he requested a special verdict form with respect to Count
  Two, the money laundering conspiracy charge, which would erroneously require the jury to unanimously
  agree on the Specified Unlawful Activities (“SUA”) underlying each object of the charged conspiracy.
  (ECF No. 632.) On July 26, 2024, the government submitted a letter to the Court explaining that the
  Second Circuit has rejected the notion that an SUA charged within a money laundering offense is an
  essential element of the crime, and, therefore, that it would be error to require jury unanimity with respect
  to the charged SUAs in this case. (ECF No. 686.)
Case 1:18-cr-00681-NGG-CLP Document 704 Filed 08/03/24 Page 2 of 8 PageID #: 20147




                  The next day, in apparent recognition that its SUA interrogatories were improper, the
  defense pivoted and submitted a letter requesting a special verdict form “on the issue of venue for Count
  One so it is clear which venue provision the jury determined the government proved beyond a reasonable
  doubt.” (ECF No. 688 at 1 (emphasis added).) The government submits that the only purpose of this
  request is to confuse the jury, and that there is no sound legal reason to include a venue interrogatory.

                 First, the Second Circuit has already impliedly accepted that venue may be established
  under § 3238 in connection with a wire fraud scheme. As the Court previously observed, in United States
  v. Miller, 808 F.3d 607, 611 (2d Cir. 2015), the Second Circuit found that “venue does not become
  improper under § 3238 ‘simply because it might also have been properly laid elsewhere pursuant to
  § 3237(a).’” (ECF No. 626 at 22 (quoting Miller, 808 F.3d at 611)). In Miller, the Second Circuit rejected
  as dicta its “passing comment” in United States v. Gilboe, 684 F.2d 235 (2d Cir. 1982), that § 3238
  “applies only to offenses ‘not committed in any district,’ as its title indicates.” Id. at 621 (quoting Gilboe,
  684 F.2d at 238–39). Miller clarifies that § 3238 “may apply even when certain offense conduct occurs
  in the United States.” Id. Notably, Gilboe concerned a wire fraud scheme— just like the scheme charged
  in this case — and in reviewing its Gilboe decision, the Second Circuit pointedly did not find that § 3238
  could not be used to establish venue for such a scheme.

                  The government submits that this effectively moots the defendant’s main argument for
  requesting a special interrogatory on venue for Count One. The defendant has stated that such
  interrogatory is necessary in order to preserve his ability to appeal the government’s reliance on § 3238 in
  the event of his conviction for wire fraud conspiracy. The Second Circuit, however, has already impliedly
  blessed the use of § 3238 to establish venue over a wire fraud scheme. That should end the issue. Indeed,
  consistent with Miller, the Court has twice rejected the defendant’s argument — in its motion in limine
  and its motion to dismiss: “the Government has sufficiently alleged venue under the statute such that it
  may advance this venue theory before the jury.” (Mem. and Order at 23, ECF No. 626.) In that decision,
  the Court also dismissed the defendant’s reliance on Gilboe, 684 F.2d at 239, because, as the Court
  unequivocally stated, “[t]he Second Circuit rejected this argument.” (ECF No. 626 at 22); see also id.
  (citing 2 Charles Alan Wright, Fed. Prac. and Proc. Crim. § 304 (4th ed. 2004). The Court again rejected
  this argument in denying the motion to dismiss the Third Superseding Indictment:

                 The court has already addressed this [first-brought venue as to wire fraud] argument
                 in its previous Memorandum & Order that responded to the parties' various motions
                 in limine. (See MIL M&O at 21-26.) In that Order, the court found that the
                 Government sufficiently alleged venue and was thus permitted to prove venue
                 under 18 U.S.C. § 3238 at trial. (See id.) That ruling is law of the case. See Johnson
                 v. Holder, 564 F.3d 95, 99 (2d Cir. 2009) (“The law of the case doctrine commands
                 that ‘when a court has ruled on an issue, that decision should generally be adhered
                 to by that court in subsequent stages in the same case’ unless ‘cogent and
                 compelling reasons militate otherwise.’” (quoting United States v. Quintieri, 306
                 F.3d 1217, 1225 (2d Cir. 2002))).

  (ECF No. 670 at 4 (Order denying Motion to Dismiss).)

                  Second, the government is not aware of any cases in this District where venue
  interrogatories have been submitted to the jury, nor have any such cases been cited by the defense. See



                                                        2
Case 1:18-cr-00681-NGG-CLP Document 704 Filed 08/03/24 Page 3 of 8 PageID #: 20148




  United States v. Mackey, Case No. 21-cr-80 (AMD), 2023 WL 6879613, at * 21 n.35 (Oct. 17, 2023)
  (stating that “[t[he Court was not aware of any case law that required submitting venue to the jury as a
  separate question”) (internal quotations omitted); United States v Booth, 21-CR-652 (JSR), 2022 WL
  3139651, at 3 (S.D.N.Y. 2022) (holding that there is no need to have venue on verdict form). The
  government does not believe the Court should break new ground, especially because the Second Circuit
  appears to have already decided the issue the defendant seeks to preserve for appellate purposes.

                  Third, there is simply no way to include a venue interrogatory as to Count One without
  seriously confusing the jury and prejudicing the government. Indeed, in his letter requesting the venue
  interrogatory, the defendant twice claims that the jury should be required to specify which venue provision
  the government has proved “beyond a reasonable doubt.” (ECF No. 688 at 1; 2 (“[W]e respectfully ask
  that the Court have the jury specify which provisions they believe the government has proven beyond a
  reasonable doubt.”).) Obviously, it is black letter law the government need only prove venue by a
  preponderance of the evidence, as the Court’s draft jury charge reflects. The government is concerned
  that if the Court includes a venue interrogatory, then, just like the defendant, the jury will confuse the
  government’s burden of proof on venue with its burden of proof as to the other issues the jury must resolve.
  Such confusion threatens to seriously prejudice the government.

                 Conversely, the defendant would not be prejudiced by the use of a general verdict form.
  As the government explained during the charge conference, the appellate court could still review the
  record and determine whether the government adduced sufficient evidence to prove either or both venue
  bases by a preponderance of the evidence. And, as noted above, the Second Circuit has impliedly found
  that the government may establish venue under § 3238 in connection with the type of fraud scheme alleged
  in Count One. Thus, the defendant would still be afforded his right to the jury’s unanimous agreement on
  venue.

                  Fourth, and alternatively, should the Court determine that a venue interrogatory is
  appropriate as to Count One, it should be drafted in a way that preserves the government’s right to bring
  that charge in another district in the event that the jury cannot unanimously agree on one or more venue
  bases. In Smith v. United States, 599 U.S. 236 (2023), the Supreme Court recently held that “[t]he reversal
  of a conviction based on a violation of the Venue or Vicinage Clauses, even when styled as a ‘judgment
  of acquittal’ under Rule 29, plainly does not resolve the bottom-line question of criminal culpability,” and,
  therefore, the Double Jeopardy Clause does not prohibit the government from retrying the case in another
  district. 599 U.S. at 253 (internal quotations omitted). Consequently, any such interrogatory should be
  drafted in way that ensures that the jury’s determination as to venue on Count One is entirely separate
  from its determination of the defendant’s guilt or innocence, and reminds the jury that the government
  need only prove venue by a preponderance of the evidence.1 Given the inherent complexity of such an
  interrogatory, the government reiterates its belief that it is prejudicial and unnecessary.



                 1
                  The government thus submits three forms for the Court’s consideration. Exhibit A
  contains the government’s preferred verdict form. The proposed forms in Exhibits B and C are based on
  the verdict form used in United States v. Ng, Case No. 18-cr-538 (MKB), ECF No. 198. Exhibit B
  contains the government’s proposed form if the objects of the conspiracy are included in Count Two
  (which the government believes is unnecessary as the Court’s charge already instructs the jury that
  unanimity is required as to one or more charged objects); and Exhibit C contains the government’s

                                                       3
Case 1:18-cr-00681-NGG-CLP Document 704 Filed 08/03/24 Page 4 of 8 PageID #: 20149




     2. Since There Was No Missing Witness in This Case, There Is No Reason to Issue the Defense’s
        Requested Missing Witness Instruction

                 The defendant should not be permitted to sandbag the government by failing to call a
  corporate representative from Credit Suisse and then requesting a missing witness instruction for the
  witness he made no effort to obtain. After the defendant’s subpoena to Credit Suisse was quashed for
  being overbroad and vague, the defendant could still have submitted an appropriate subpoena to Credit
  Suisse requesting the testimony of a corporate representative, or any fact witness. He chose not to, perhaps
  because he knew it would be improper to call a witness for the sole purpose of impeaching that witness,
  as the defendant has made clear he intended to do. Regardless, the defendant could have secured the
  appearance of a witness from Credit Suisse. His failure to do so in no way justifies the inclusion of a
  missing witness instruction in the jury charge.

                  As an initial matter, the defendant mischaracterizes both his subpoena to Credit Suisse and
  the government’s opposition to it, claiming that the government changed its position on this issue at the
  charge conference. In June 2024, the defendant served an overbroad and vague subpoena on Credit Suisse
  which sought, among other things, a witness familiar with “the ProIndicus, EMATUM, and MAM
  loans[.]” (ECF No. 596-1.) The defendant misleadingly quotes from the government’s motion to quash,
  using ellipses to omit that the government specifically opposed the subpoena because it was
  “impermissibly vague and broad.” The government did not argue that the defendant could never subpoena
  Credit Suisse. Rather, it argued that the subpoena ran afoul of Rule 17 because “the defendant has made
  no effort to identify what specific issues he wants testimony on regarding the three loans, and why that
  testimony is probative of the disputed issues and admissible.” Id. The government made the same point
  at the charge conference on Thursday. (Tr. 2446 (Mehta) (“It wasn’t quashed in its entirety . . . It was
  simply that it was too broad.”).)

                 The defendant also claims that the “government quashed” his subpoena. That is wrong.
  Judge Pollak denied the defendant’s motion to compel a witness to testify about the loans because she
  concluded that “the subject matter for which the defendant seeks the witness or witnesses — the loans —
  is overly broad and vague, making it difficult to identify appropriate witnesses.” (ECF No. 628 at 21.)2


  proposed form if venue is included in Count One and the objects of the conspiracy are included in Count
  Two.
                 2
                    Although the government argued that the defendant could not subpoena Credit Suisse for
  a representative to testify on behalf of the company as a 30(b)(6) witness would in a civil case, Judge
  Pollak did not find — one way or the other — that the defendant could not subpoena a corporate
  representative of Credit Suisse. Additionally, the defense claims that the government issued a subpoena
  for a corporate representative from Quinn Emmanuel; that is not true. The purpose of that subpoena was
  for the testimony of Ms. Reith, a fact witness who testified about her personal role in collecting documents
  from Privinvest for authentication purposes. Nor was Ms. Leemhuis a corporate representative of VTB
  Capital; she testified as a fact witness regarding her role in VTB Capital’s approval of the loams. Indeed,
  at the time of her testimony she was no longer even employed by VTB Capital. Her testimony that VTB
  Capital would not have approved the loans had it known about payments to Mozambican officials was
  based on her personal experience working on the loan agreements, certain of which she herself signed.

                                                       4
Case 1:18-cr-00681-NGG-CLP Document 704 Filed 08/03/24 Page 5 of 8 PageID #: 20150




  Nothing in the order prevented the defendant from serving an appropriately tailored subpoena. The
  defendant simply chose not to.3

                  When “a party has it peculiarly within his power to produce witnesses whose testimony
  would elucidate the transaction” and fails to produce such witnesses, the jury may infer that “the
  testimony, if produced, would be unfavorable” to that party. United States v. Torres, 845 F.2d 1165, 1169
  (2d Cir. 1988) (quoting Graves v. United States, 150 U.S. 118, 121 (1893)). “However, when a witness
  is equally available to both sides, ‘the failure to produce is open to an inference against both parties.” Id.
  (quoting 2 Wigmore, Evidence § 288, at 208 (Chadbourn rev. 1979) (emphasis in original)). No
  instruction is necessary where the unpresented testimony would be merely cumulative. United States v.
  Tyers, 487 F.2d 828, 831 (2d Cir. 1973), cert. denied, 416 U.S. 971 (1974). Whether a missing witness
  instruction should be given is within the sound discretion of the court. United States v. Mittelstaedt, 31
  F.3d 1208 (2d. Cir. 1994).

                  In light of the facts and law cited above, the Court should not give the missing witness
  instruction for two reasons. First, Credit Suisse was equally available to both parties. The defendant could
  have served an appropriately tailored subpoena on Credit Suisse but chose not to. That Credit Suisse was
  obligated to cooperate with the government under the terms of its DPA is irrelevant because that obligation
  in no way limited the defendant’s right or ability to subpoena a witness from Credit Suisse. Second, there
  is no evidence that some other unidentified witness Credit Suisse would have offered non-cumulative
  testimony about the ProIndicus, EMATUM, or MAM loans. Indeed, the jury heard from two former
  Credit Suisse employees — Andrew Pearse and Surjan Singh, perhaps the two Credit Suisse employees
  most knowledgeable about the transactions — who testified at length about the loans, including that they
  hid their fraudulent conduct from the bank. VTB and other investors were uniform in testifying that the
  false statements in the loan documents were material to their investment decisions, and the defendant
  offers no basis for the Court to conclude that any other Credit Suisse employee would have testified
  differently. In sum, the defendant’s request has “‘the usual aura of gamesmanship’ that frequently
  accompanies requests for a missing witness charge” and should be denied. Torres, 845 F.2d at 1171
  (quoting United States v. Erb, F.2d 438, 445 (2d Cir. 1976)).

     3. The Court Should Use the Government’s Proposed Limiting Instruction with Respect to the Wine
        and Honey Issues

                 The government requests that the Court provide the following instruction as to the
  September 16, 2013, email from Jean Boustani to Antonio Do Rosario regarding the shipment of more
  than a thousand bottles of wine, honey, and olive oil — all produced on the French estate of Iskander Safa
  — to the defendant’s wife shortly after the EMATUM deal closed:

                  The government introduced Government Exhibits 2463, 2463-A, and 2463-
                  A-T, an email dated September 16, 2013, and receipt for a shipment of wine,


                  3
                   The defendant also misleadingly argues that at the pretrial conference it “again raised the
  issue of not being able to subpoena a corporate representative of Credit Suisse to discuss the issue of
  materiality.” (ECF No. 702 at 2.) At the pretrial conference, the defense complained that it wanted a
  representative “to get out that Credit Suisse entered into the guilty plea in the DPA,” not to testify generally
  about ProIndicus, EMATUM, and MAM. 7/12/2024 Pretrial Conference Transcript at 20.

                                                         5
Case 1:18-cr-00681-NGG-CLP Document 704 Filed 08/03/24 Page 6 of 8 PageID #: 20151




                 honey, and olive oil to Lizette Chang. You may consider this evidence for
                 the limited purpose of showing a relationship between the alleged co-
                 conspirators and as an act in furtherance of the charged conspiracies. It is
                 up to you to determine what weight this evidence should be afforded, but
                 you should not consider it for any purpose other than the purpose for which
                 it was admitted.

  The Court should provide this instruction in Part II: The Substantive Charges, Instruction 3 Conspiracy
  Generally, after the first full paragraph on page 36 of the Draft Jury Charge.

                   The government’s proposed language more accurately describes the basis for admitting
  this email and the corresponding attachments in evidence. The government offered these documents not
  only as evidence of the relationship between the defendant, Safa, and the other individuals, but also
  because it was a co-conspirator statement made in furtherance of the conspiracy. (See Tr. at 889 – 892
  (Ngai) (“ . . . this is a co-conspirator statement, it’s probative of the relationship between the defendant,
  Jean Boustani, Safa, and it’s also probative of the undue and improper benefits that were extended to the
  defendant”).) Although the government does not intend to argue in closing that the delivery of these items
  were themselves corrupt payments, the government should still be permitted to argue, and the jury should
  still be permitted to infer, that the defendant’s co-conspirators sent the wine, honey, and oil in furtherance
  of the charged conspiracies. (Id. (The Court: “All right. I’m going to allow it, primarily, based upon the
  timing of it in connection with other activities that mapped that could, to the jury, demonstrate a strong
  business relationship between these parties. And you know, the argument can be made — it may or may
  not be made — that in business, one aspect of maintaining and enhancing a business relationship is making
  gratuity — making gifts to the other participant in the conspiracy, and so it does have probative value in
  that regard.”).) The Court should therefore adopt the government’s proposed instruction.

     4. The Court Should Reject Unnecessarily Injecting Confusing Language About the Right to Control
        Theory in the Jury Instruction

                  The defendant has erroneously argued, time and again, that the government has asserted a
  right to control theory of wire fraud. The Court has rejected this argument.

                 Chang’s argument that Ciminelli requires dismissal fails, however, because the
                 Indictment does not rely on the right-to-control theory. Rather, the Indictment
                 focuses on allegations that Chang sought to deprive investors and potential
                 investors of money, a “traditional property interest.” Id.; see also United States v.
                 Tournant, No. 22-CR-276 (LTS), 2023 WL 8649893, at *9 (S.D.N.Y. Dec. 13,
                 2023) (“The wire fraud conspiracy charged in the Indictment thus had, as the
                 Indictment alleges, the object of obtaining and retaining tangible property-
                 money.”)

  (ECF No. 573 at 8 (Order denying Motion to Dismiss).)

                  Now, upon the conclusion of this trial, the defendant again tries to place this argument
  before the jury by placing in surplusage language that apparently has never been used in a jury instruction
  in the Second Circuit (and the defendant does not cite to any such instruction). The Court should reject



                                                        6
Case 1:18-cr-00681-NGG-CLP Document 704 Filed 08/03/24 Page 7 of 8 PageID #: 20152




  this language as it will only confuse and mislead the jury. The government has made clear that the
  conspiracy was to lie to obtain money from the investors – not to deprive them of some intangible property
  rights. The defendant wants to insert this instruction and then argue to the jury that because the
  misrepresentations involve “potentially valuable economic information” – that the government has not
  proven wire fraud - thus conflating the issue of misrepresentations with the property rights at issue. This
  is exactly what they tried to do in their motion to dismiss. The Court rejected this argument:

                 In making his right-to-control argument, Chang misreads the Indictment and what
                 the Government intends to prove at trial. He states that the Indictment “explicitly
                 alleges that Chang and his alleged coconspirators deprived investors of potentially
                 valuable economic information necessary to make discretionary economic
                 decisions” and that “[a]t no point does the Indictment allege the deprivation of any
                 traditional property interest.” (Mot. at 14-15.) To show this, Chang states, for
                 instance, that the Indictment alleges that he “deprived investors of information
                 about ‘the use of loan proceeds.’” (Id. at 15 n.10.) But this quote from the
                 Indictment refers to the alleged misrepresentation made by the coconspirators, not
                 the victims’ property interest.

  (ECF No. 573 at 10 (Order denying Motion to Dismiss).) As the Court further explained:

                 The deprivation of information relating to the “use of loan proceeds” refers not to
                 the property interest but to the misrepresentation that was an aspect of the scheme
                 to defraud investors to obtain their money. (Id.) See also Weaver, 860 F.3d at 94
                 (noting elements of the wire fraud statute). As Judge Matsumoto recently stated,
                 “Ciminelli did not reject the premise that depriving a victim of information in
                 order to induce the victim to part with traditional property can be fraud.” United
                 States v. An, No. 22-CR-460 (KAM), 2024 WL 2010017, at *8 (E.D.N.Y. May 7,
                 2024). “Ciminelli simply rejected the notion that information itself can be
                 property.” Id. Such is the case here. The court thus denies Chang's motion to
                 dismiss Count One, conspiracy to commit wire fraud, under Ciminelli.

  (Id. at 11.)

                  After thoroughly rejecting these arguments, the Court should reject the defendant’s
  transparent attempt to interject this language into the wire fraud instruction and argue that because the
  misrepresentations about the “use of loan proceeds” involve the deprivation of information—the paying
  of bribes and kickbacks — that this somehow refers to the property interest — it does not — the property
  interest is money.

      5. The Defendant’s Proposed Language for the Promotional Money Laundering Instruction Is
         Superfluous and Without Legal Support

                  The defendant seeks to add the underlined language to the Court’s instruction regarding
  promotional money laundering: “The second element is that the individual acted with intent to promote
  the carrying on of one or more crimes, referred to as a “specified unlawful activity” or “SUA,” not just
  that the transfer had the effect of doing so.” This language is superfluous because the first clause of the



                                                      7
Case 1:18-cr-00681-NGG-CLP Document 704 Filed 08/03/24 Page 8 of 8 PageID #: 20153




  Court’s instruction already requires the government to prove that the transfers were undertaken with the
  intent to promote an SUA. The defendant’s reliance on United States v. Garcia, 587 F.3d 509, 517 (2d
  Cir. 2009) is misplaced. That case did not address promotional money laundering under 18 U.S.C.
  § 1956(a)(2), but rather, concealment money laundering under § 1956(a)(2)(B)(i). In connection with that
  offense, Garcia held that “the Supreme Court held in Cuellar that the statute ‘requires proof that the
  purpose — not merely effect — of the transportation was to conceal or disguise a listed attribute’ of the
  funds.” Id. at 509 (quoting Cuellar v. United States, 553 U.S. 550, 566-67 (2008)). Garcia thus clarifies
  the meaning of the “designed in whole or in part” language used in § 1956(a)(2)(B) — it is entirely
  unconnected to promotional money laundering. Accordingly, the government submits that the defendant’s
  proposed language is unnecessary and without legal support, and the Court should instruct the jury on this
  aspect of Count Two using the language it originally drafted.

                                                      Respectfully submitted,

         MARGARET A. MOESER                               BREON PEACE
         Chief, Money Laundering                          UNITED STATES ATTORNEY
         & Asset Recovery Section                         Eastern District of New York
         Criminal Division                                271 Cadman Plaza East
         U.S. Department of Justice                       Brooklyn, New York 11201


   By:    /s/                                       By:    /s/
         Morgan J. Cohen                                  Hiral Mehta
         Trial Attorney                                   Genny Ngai
         (202) 616-0116                                   Assistant United States Attorneys
                                                          (718) 254-7000
         GLENN S. LEON
         Chief, Fraud Section
         Criminal Division
         U.S. Dept. of Justice


   By:    /s/
         Peter Cooch
         Trial Attorney
         (202) 924-6259

  cc:    Clerk of Court (NGG) (by ECF)
         Defense counsel (by ECF)




                                                      8
